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                        IN THE UNITED STATES DISTRICT COURT OF THE
                            SOUTHERN DISTRICT OF WEST VIRGINIA
                                   CHARLESTON DIVISION

IN RE: DIGITEK
      PRODUCTS LIABILITY LITIGATION

                                                                     MDL NO. 1968
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                COMPLAINT BY ADOPTION FOR ALL INDIVIDUALS


         1.       Plaintiff(s),               , state(s) his/her/theirs claims against Defendant(s),

indicated below, and incorporate(s) by reference the relevant portions of the Master Consolidated

Complaint for Individuals (the “Master Complaint”) on file with the Clerk of the Court for the

United States District Court for the Southern District of West Virginia, Charleston Division in

the matter entitled In Re DIGITEK PRODUCTS LIABILITY LITIGATION, Docket # MDL No.

08-1968.

         2.       Plaintiff                 , is a citizen and resident of         and claims damages as

set forth below.

                  a.       Plaintiff__________, is a citizen and resident of __________, and claims

         damages for loss of consortium. [Not Applicable: _______]

                                   ALLEGATIONS AS TO INJURIES

         3.       Plaintiff ________has suffered injuries as a result of having been prescribed

and/or ingested Digitek® (digoxin) marketed, designed, manufactured, produced, supplied and

sold by Defendant(s). Defendant(s), listed below, by its/their actions or inactions proximately

caused Plaintiff's injuries.

         4.       As a result of the injuries that Plaintiff has sustained, he/she is entitled to recover

compensatory, equitable and/or other relief.

         5.       On           Plaintiff had the above referenced Digitek® prescribed by__________
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(if known) and the prescription was filled at _____________(if known) on _________ (if

known).

       6.      As a result of the Defendant(s) actions, Plaintiff suffered injury and damages as

set forth in the Master Complaint.

       7.      To the extent that this Complaint by Adoption includes a claim for loss of

consortium, Plaintiff ________ is entitled to recover compensatory, equitable and/or other relief.

[Not Applicable: _______]

                           ALLEGATIONS AS TO DEFENDANTS

       8.      The following entity is named as Defendant herein and the allegations with regard

thereto in the Master Complaint are herein adopted by reference.

       ________ACTAVIS TOTOWA, LLC

       ________ACTAVIS INC.

       ________ACTAVIS ELIZABETH, LLC

       ________MYLAN, INC.

       ________MYLAN PHARMACEUTICALS, INC.

       ________MYLAN BERTEK PHARMACEUTICALS INC.

       ________UDL LABORATORIES, INC.

       ________OTHER (Defendant allegations to be set forth on an attached document
             and incorporated by reference)


              SPECIFIC ALLEGATIONS AND THEORIES OF RECOVERY

       9.      The following claims and allegations asserted in the Master Complaint and the

allegations with regard thereto in the Master Complaint are herein adopted by reference:


       ________INTRODUCTION;
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         ________PARTIES;

         ________JURISDICTION AND VENUE;

         ________FACTUAL ALLEGATIONS;

         ________COUNT ONE (Product Liability – Failure to Warn and Instruct);

         ________COUNT TWO (Product Liability - Manufacturing Defect);

         ________COUNT THREE (Product Liability-Design Defect);

.        ________COUNT FOUR (Negligence);

         ________COUNT FIVE (Negligence Per Se);

         ________COUNT SIX (Breach of Implied Warranty);

         ________COUNT SEVEN (Breach of Express Warranty);

         ________COUNT EIGHT (Negligent Misrepresentation);

         ________COUNT NINE (Intentional Misrepresentation);

         ________COUNT TEN (Fraud);

         ________COUNT ELEVEN (Constructive Fraud);

         ________COUNT TWELVE (Violation of W.Va. Consumer Protection Statute);

         ________COUNT THIRTEEN (Violation of Applicable Consumer Protection
                and/or Unfair Trade Practices Statutes);

         ________COUNT FOURTEEN (Wrongful Death,);

         ________COUNT FIFTEEN (Survival Action);

         ________COUNT SIXTEEN (Medical Monitoring);

         ________COUNT SEVENTEEN (Unjust Enrichment);

         ________COUNT EIGHTEEN (Medicare Secondary Payer Act);

         ________COUNT NINETEEN (Loss of Consortium);
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       ________COUNT TWENTY (State Law Specific Cause of Action or Other Cause of
              Action to be set forth on an attached document and incorporated by
              reference).

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff(s) seeks judgment favor against Defendant(s) as follows:

       1.      Economic and non-economic damages in an amount in excess of $75,000 as

provided by law and to be supported by the evidence at trial;

       2.      For the equitable relief requested;

       3.      For compensatory damages according to proof;
       4.      For punitive damages;

       5.      For all applicable statutory damages under the Medicare Secondary Payer Act and

the applicable consumer protection legislation;

       6.      For declaratory judgment that Defendant(s) is/are liable to Plaintiff(s) for all

evaluative, monitoring, diagnostic, preventative, and corrective medical, surgical, and incidental

expenses, costs and losses caused by Defendants’ wrongdoing;

       7.      For disgorgement of profits;

       8.      For an award of attorneys’ fees and costs;

       9.      For prejudgment interest and the costs of suit; and

       10.     For such other and further relief as this Court may deem just and proper.


                                 DEMAND FOR JURY TRIAL

       Plaintiff(s) hereby demand a trial by jury as to all claims in this action.

Date: ____________________                     Respectfully submitted:
                                               Plaintiff’s Counsel
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